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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 STATE OF FLORIDA,

          Plaintiff,

 v.                                               Case No. 3:23cv9962-TKW-ZCB

 ALEJANDRO MAYORKAS, et al.,

      Defendants.
_________________________________/

                            ORDER TO SHOW CAUSE

      It has come to the Court’s attention that there are published news reports

stating that DHS “paroled” 2,500 aliens after the Court entered its temporary

restraining order. See Stephen Dinan, “Border Patrol paroled 2,500 migrants after

judge’s ruling halting program,” Washington Times, May 14, 2023.1 The Court takes

everything it reads in the media with a healthy degree of skepticism—whether it is

in the Washington Times, the Washington Post, or anywhere else—so it is possible

that the article is inaccurate. However, the Court takes allegations of noncompliance

with its orders very seriously, irrespective of the source of the allegations.

      Accordingly, it is ORDERED that no later than 2:00 p.m. central time today,

Defendants shall file a report with the Court addressing the allegations in the article


      1
         See https://www.washingtontimes.com/news/2023/may/14/border-patrol-paroled-2500-
migrants-after-judges-r/.
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referenced above, and if the allegations are true, Defendants shall show cause why

they should not be held in contempt for violating the temporary restraining order.

      DONE and ORDERED this 15th day of May, 2023.




                                      _________________________________
                                      T. KENT WETHERELL, II
                                      UNITED STATES DISTRICT JUDGE




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